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                             UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF SOUTH CAROLINA

In re:
                                                              Chapter 11
Watertech Holdings, LLC.,1
                                                              Case No. 20-00662-jw
                          Debtor.


                                      CERTIFICATE OF SERVICE

         I, the undersigned Sally Ann Beall, an employee with McCarthy, Reynolds, & Penn,

LLC, Attorneys for the Debtor, do hereby certify, under penalty of perjury, that I have served

the Notice of Hearing [Doc. 8]; the Motion for Order Establishing Bidding and Other

Procedures in Connection With the Sale of Assets of the Debtor and Granting Protections

to the Proposed Purchase and Memorandum in Support [Doc. 7]; and the Debtor’s

Motion for Order Authorizing the Sale of Assets of the Debtor Free and Clear of Liens,

Claims, Encumbrances, and Other Interests Pursuant to 11 U.S.C. Sec. 363 [Doc. 6], upon

the creditors and other parties in interest, as shown on the attached list, and that same was

served by depositing in the US Postal Service, first-class mail, postage prepaid, on the 6th day

of March, 2020, in Columbia, SC.

                                                     McCARTHY, REYNOLDS, & PENN, LLC


                                                     /s/ Sally Ann Beall
                                                     Sally Ann Beall
March 6, 2020                                        1517 Laurel Street (29201)
Columbia, South Carolina                             Post Office Box 11332
                                                     Columbia, South Carolina 29211-1332
                                                     (803) 771-8836




1
 The last four digits of the Debtor’s tax identification number are 3734. The address of the Debtor’s corporate
headquarters is 238 Albemarle Rd., Charleston, SC 29407.
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Label Matrix for local noticing               3D Systems Incorporated Page 2 of 4
                                                   Document                                AT&T Mobility
0420-2                                        PO Box 534963                                PO Box 6463
Case 20-00662-jw                              Atlanta GA 30353-4963                        Carol Stream IL 60197-6463
District of South Carolina
Charleston
Tue Mar 3 12:00:04 EST 2020
AT&T Phone                                    Aerosol Reasearch & Engineering Labs         Albemarles Point Center SPE, LLC
PO Box 105262                                 15320 S. Cornice Street                      c/o Insite Properties, LLC
Atlanta GA 30348-5262                         Olathe KS 66062-7519                         123 West Morehead St., Ste 150
                                                                                           Charlotte NC 28208


Auburn University Poultry Science Dept        Bank of America                              Carolina Fluid Components, LLC
201 Poultry Science Building                  PO Box 25118                                 PO Box 601687
Auburn University AL 36849-5416               Tampa FL 33622-5118                          Charlotte NC 28260-1687



Charleston Imaging Products, Inc.             Charleston Telecom Solutions                 CHARLESTON WATER SYSTEM
c/o Sean P. Mummert                           402 Glouchester Court                        PO BOX B
2216 Black Oak Court                          Summerville SC 29485-8050                    CHARLESTON SC 29402-0017
Mt Pleasant SC 29464


Charlie Strickland                            Charter Communications                       Cherry Bekaert
17 Santa Anita                                PO Box 742614                                1111 Metropolitian Avenue, Suite 900
San Antonio TX 78261-2312                     Cincinnati OH 45274-2614                     Charlotte NC 28204-3413



Chris Whelchel                                Clear Strike, LLC                            Comcast
3601 Country Club Drive                       c/o Rick M. Crosby                           PO Box 105184
Gastonia NC 28056-1619                        802 Coleman Boulevard, Ste 101               Atlanta GA 30348-5184
                                              Mount Pleasant SC 29464-4048


Cowan Strategies                              DMR Consulting, LLC                          David Pobiak
19 Oronoco Street, Suite 101                  3179 Woodlawn Lane                           12000 N. Bay Shore Drive, Suite 202
Alexandria VA 22314                           Alexandria VA 22309-2232                     Miami FL 33181-2950



David Stern                                   Detection Tek Holdings, LLC
147 Tradd Street                              PO Box 18118
Charleston SC 29401-2417                      Boulder CO 80308-1118



Dr. Charles Gudas                             Eric A. Frische and/or Muffet S. Frische     Eric Frische
3 Motley Lane                                 Trustees of the Adventure Trust              17084 Knots Landing
Charleston SC 29401-2016                      17084 Knotts Landing                         Addison TX 75001-5029
                                              Addison TX 75001-5029


Etowah Group, LLC                             Fish & Richardson, PC                        Florence Darlington Technical College
252 Fairsailing Road                          One Congress Plaza, Suite 810                Accounts Receivable
Mount Pleasant SC 29466-8167                  111 Congress Avenue                          2715 W. Lucas Street
                                              Austin TX 78701-4050                         Florence SC 29501-1242
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Forager Investment Group, LLC            Forager Systems, Inc. Page 3 of 4
                                              Document                                  Globial Financial Services Consulting
186 Seven Farms Drive, Ste. F 400        186 Seven Farms Drive, Suite F400              23 John Galt Way
Charleston SC 29492-8510                 Charleston SC 29492-8510                       Mount Pleasant SC 29464-6646



Gray, Layton, Kersh                      Greenacre Ventures                             Keith Johnson
Attorneys at Law                         PO Box 9170                                    56 Redbay Road
PO Box 2636                              Ketchum ID 83340                               Elgin SC 29045-8685
Gastonia NC 28053-2636


Kenneth Metzger                          Kevin Lyden                                    Lake Avenue Ventures, LLC
5456 Waterleaf Drive                     17 Guerard Road                                23 John Galt Way
Clarence NY 14031-1848                   Charleston SC 29407-7510                       Mount Pleasant SC 29464-6646



Lawton Hayes                             Lawton Hayes                                   Malcolm Fages
3228 Industry Drive                      PO Box 40549                                   2508 Willington Court
North Charleston SC 29418-8452           Charleston SC 29423-0549                       Mount Pleasant SC 29466-8047



Mark Peterson                            Mulholland Consulting, LLC c/o USCA            McMaster-Carr
7800 Computer Avenue, No. 125            4445 Corporation Lane, Ste 259                 PO Box 7690
Minneapolis MN 55435-5428                Virginia Beach VA 23462                        Chicago IL 60680-7690



Mike Kelley                              Mulholland Consulting, LLC c/o USCA            NC State Student Centers
37 Broughton Road                        1101 S Arlington Ridge Rd., Unit 807           Campus Box 7294
Charleston SC 29407-7503                 Arlington VA 22202                             Raleigh NC 27695-0001



Oilfield Labs of America, LLC            PMH/JHH Investments, LP                        Path X Defense, LLC
PO Box 60023                             3302 S. WW White Road                          5221 Viking Drive, Ste.120
Midland TX 79711-0023                    San Antonio TX 78222-4830                      Bloomington MN 55435-5323



Path X Defense, LLC                      Patricia Christine Fei, Trustee of the         Patricia Fei
7800 Computer Ave., Suite 125             James R. Rei Revocable Trust                  4360 Corporate Road
Minneapolis MN 55435-5428                4360 Corporate Road                            North Charleston SC 29405-7439
                                         North Charleston SC 29405-7439


William Harrison Penn                    Preferred Logistics, Inc.                      Richard Shea
McCarthy, Reynolds & Penn, LLC           12835 Jess Pirtle Blvd                         70 Commodore Road
1517 Laurel Street (29201)               Sugar Land TX 77479                            Chappaqua NY 10514-2628
PO Box 11332
Columbia, SC 29211-1332

Rick M. Crosby                           Robert Fei                                     Rogers & Brown Custom Brokers, Inc.
102 W. Shipyard                          202 Beresford Creek Street                     PO Box 20160
Mount Pleasant SC 29464-6658             Charleston SC 29492-7518                       Charleston SC 29413-0160
                Case 20-00662-jw   Doc 10   Filed 03/06/20        Entered 03/06/20 11:47:26      Desc Main
Scott Alderson                          Service Master NCR
                                             Document           Page 4 of 4         Silicon Harbor Communications
23 John Galt Way                        Attn: Greg Gandee                           Attn: Paul Swiergosz
Mount Pleasant SC 29464-6646            7551 Fordson Road                           1721 Wellstead Street
                                        Alexandria VA 22306-2225                    Mount Pleasant SC 29466-8374


Sujit Joe Vattenky                      TCAB Holdings, LLC                          TNF Gothics, LLC
24203 1st Avenue SE                     2507 Washington Street                      56 Redbay Road
Bothell WA 98021-4506                   San Antonio TX 78261                        Elgin SC 29045-8685



Technology Sciences Group, Inc.         Tectrucks, LLC                              The Austin Strategy Group, LLC
1150 18th Street, NW                    c/o Dennis Avery                            c/o General Lloyd Austin III
Suite 1000                              717 14th Street                             300 Beach Drive, NE, Apt 209
Washington DC 20036-3840                Port Royal SC 29935                         Saint Petersburg FL 33701-3404


US Trustee’s Office                     UEC Electronics, LLC                        UPS Lockbox 577
Strom Thurmond Federal Building         5914 Howard Street                          Carol Stream IL 60132-0577
1835 Assembly St.                       Hanahan SC 29410-2615
Suite 953
Columbia, SC 29201-2448

UPS/UPS SCS Dallas                      US Securities and Exchange Commission       University of South Carolina
PO Box 650690                           Office of Reorganization                    Contract & Grant Accounting
Dallas TX 75265-0690                    950 East Paces Ferry Road, NE, Ste. 900     1600 Hampton Street, Room #612
                                        Atlanta, GA 30326-1382                      Columbia SC 29201


Watertech Holdings, LLC
Attn: Bob Fei
4360 Corporate Road, Suite 100
North Charleston, SC 29405-7439
